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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK
                                        2024-cv-09743
Lucio Celli,
Plaintiff,

v.
New York City et al,
Defendants.



Motion (and Letter) to take Notice that Judge Seibel and Judge Taylor-Swain misused their
office to steal and aide Randi Weingarten in her crimes under 18 USC § 241with Your Honor not
allowing me to call witnesses, DA Bubeck to inform the Court that the UFT withheld my retro—
that I have Adom audio recorded telling---CBA is “on payroll” which is the same statement that
Mr. Brown said at PERB –which is NOT WHAT IS PUBLICLY FILED--Intent to File
Motion Invoking Crime–Fraud Exception and for Sanctions Under Fed. R. Civ. P. 11 as the
Mr. Brown knowingly misrepresented what I am entitled and what Ms. Peterson told me
but Your Honor to have her attend

Pursuant to Federal Rule of Civil Procedure 11(c)(2) and Local Civil Rule 11.1, Plaintiff
hereby provides formal 21-day notice of my intent to file a motion seeking:

     1. An order compelling production of communications and documents currently
        withheld as privileged under the crime–fraud exception,
        see Clark v. United States, 289 U.S. 1 (1933); United States v. Zolin, 491 U.S. 554 (1989),
        and Second Circuit authority (In re Richard Roe, Inc., 168 F.3d 69 (2d Cir. 1999)).
     2. Rule 11 sanctions against Defendants and their counsel for advancing factual contentions
        that lack evidentiary support, for asserting privilege to conceal ongoing fraudulent
        retaliation, and for causing unnecessary delay and expense.

Grounds for the Motion

     •   Prima-Facie Crime–Fraud Showing: Evidence already before the Court—including
         audio recordings, documentary admissions, and contradictory pleadings—establishes that
         counsel’s communications were used in furtherance of a scheme to retaliate against me,
         deny medical benefits, and obstruct discovery. See Jacobs, 117 F.3d 82 (2d Cir. 1997).
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   •   Meritless Denials & Misrepresentations: Defendants have repeatedly claimed I “failed
       to state a claim,” yet the Court’s own standards under Twombly and Swierkiewicz require
       acceptance of my detailed factual allegations. Their continued refusal to admit obvious
       facts and their invocation of privilege to hide misconduct violate Rule 11(b)(3) and
       (b)(4).
   •   Need for In Camera Review: Under Zolin, the Court may inspect the disputed
       documents to confirm their nexus to wrongdoing before ordering full production.

Because I have plainly stated viable claims—including retaliation, denial of constitutional
rights, and civil-rights conspiracy—Defendants’ obstruction cannot be justified as zealous
advocacy.

Requested Relief in the Anticipated Motion

   •   Compel immediate production of all materials falling within the crime–fraud exception,
       or, in the alternative, conduct an in camera review.
   •   Impose monetary and non-monetary sanctions sufficient to deter future misconduct,
       including costs and fees under Rule 11(c)(4).
   •   Any additional relief the Court deems just.

Next Steps

Unless Defendants withdraw their frivolous privilege assertions and correct the factual
misrepresentations within twenty-one (21) days of service of this notice, I will file the Rule 11
motion together with my crime–fraud brief and proposed order.

Thank you for your attention.

Respectfully submitted,




DATED: [Date]
Respectfully submitted,
Lucio Celli
89 Widmer Road
Wappingers Falls, New York 12590
929-429-0155
Lucio.Celli.12@gmail.com
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Certificate of Service
I hereby certify that on [Date], a copy of the foregoing Motion to [Specify Relief Sought] was
filed electronically. Notice of this filing will be sent by operation of the Court’s electronic
filing system to all parties indicated on the electronic filing receipt. Parties may access this
filing through the Court’s system.

[Attorney's Name]
